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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


   JASON GRAHAM,                          )
                                          )
                     Petitioner,          )
                                          )                  Cause No. 3:16-cv-366
               vs.                        )         (Arising from 3:11-cr-143 RLM)
                                          )
   UNITED STATES OF AMERICA,              )
                                          )
                     Respondent.          )


                               OPINION AND ORDER

        Defendant Jason Graham pleaded guilty to possession of marijuana with

  intent to distribute, 21 U.S.C. § 841(a)(1), and maintaining a marijuana

  distribution house, 21 U.S.C. § 856(a)(1). This matter is before the court on Mr.

  Graham’s motion to vacate and correct his sentence under 28 U.S.C. § 2255. For

  the reasons that follow, the court denies Mr. Graham’s motion.



                                   I. BACKGROUND

        Mr. Graham pleaded guilty to the following events. On one occasion an

  ATF informant purchased marijuana from Mr. Graham, and on three other

  occasions from one of his codefendants. While executing a search warrant of a

  house, police and ATF officers found Mr. Graham there, as well as three pounds

  of marijuana, two loaded handguns, two surveillance cameras, drug packaging,

  and ammunition. A codefendant admitted to dealing and maintaining the house

  as a “weed house” with Mr. Graham.
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        Mr. Graham had two prior felony convictions for dealing cocaine and

  robbery. The first was considered a “controlled substance offense” and the

  second a “crime of violence” under the Federal Sentencing Guidelines. USSG §§

  2K2.1(a)(2), 4B1.2. These two prior convictions subjected Mr. Graham to the

  enhanced sentencing of a “career offender,” moving him from a base offense level

  of 14 to 32 and a criminal history category of IV to VI. The recommended

  sentence range with the enhancement was 151 to 188 months. This court

  sentenced Mr. Robertson to 120 months for possession with intent to distribute

  marijuana and 48 months for maintaining a marijuana distribution house, each

  to be served consecutively.

        As part of his plea agreement, Mr. Graham agreed to the following waiver:

        I understand that the offense to which I am pleading guilty falls
        under the Sentencing Guidelines promulgated by the United States
        Sentencing Commission under Title 28, United States Code, Section
        994. I am aware that my sentence will be determined in accordance
        with the statutory maximums listed above, the United States
        Sentencing Guidelines, and this plea agreement. I agree that the
        Court has jurisdiction and authority to impose any sentence within
        the statutory maximum set for my offense(s) as set forth in this plea
        agreement. With that understanding, I expressly waive my right to
        appeal my conviction, my sentence and any restitution order to any
        Court on any ground, including any claim of ineffective assistance of
        counsel. I also agree not to contest my conviction, my sentence, any
        restitution order imposed, or the manner in which my conviction,
        the sentence or the restitution order was determined or imposed on
        any ground including any alleged ineffective assistance of counsel
        in any appeal under Title 18, United States Code, Section 3742 or
        in any post-conviction proceeding, including but not limited to, a
        proceeding under Title 28, United States Code, Section 2255;

  Pet. to Enter a Guilty Plea, ¶ 9(d) (emphasis added).




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        Magistrate Judge Christopher Nuechterlein conducted the change of plea

  hearing. He specifically drew Mr. Graham’s attention to the appeal waiver. He

  read the italicized portion of the previous text to Mr. Robertson and explained:

        Now, what I want to point out to you is, earlier, when I said, “If you
        went to trial, and if you were convicted at trial, you could appeal
        your conviction with the assistance of counsel,” but what I just read
        to you here in your plea agreement, that sentence, you’re giving up
        that right to appeal, so, as this says, you will not be able to appeal
        your conviction or your sentence to any court, under any grounds.

  The magistrate judge then asked Mr. Graham if he understood, to which Mr.

  Graham responded, “Yeah.” The magistrate judge then said, “All right. That’s

  important.” Change of Plea Hearing Tr. [Doc. No. 133], 13-14.

        On June 26, 2015, the Supreme Court decided Johnson v. United States,

  135 S. Ct. 2551 (2015). Johnson concerned the Armed Career Criminal Act,

  which imposes a fifteen-year mandatory minimum sentence for a defendant who

  committed three prior “violent felonies.” The statute defines “violent felony” as:

        any crime punishable by imprisonment for a term exceeding one
        year . . . that –

        (i) has as an element the use, attempted use, or threatened use of
        physical force against the person of another [known as the “elements
        clause”]; or

        (ii) is burglary, arson, or extortion, involves use of explosives [known
        as the “enumerated offenses clause”], or otherwise involves conduct
        that presents a serious potential risk of physical injury to another
        [known as the “residual clause”];

  18   U.S.C.   §   924(e)(2)(B).   Johnson       held   that   the   residual     clause   is

  unconstitutionally vague under the Due Process Clause, U.S. CONST. amend. V.

  Johnson announced a substantive rule retroactively applicable to cases on

  collateral review. Welch v. United States, 136 S. Ct. 1257, 1265 (2016).
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         Mr. Graham wasn’t sentenced under the residual clause of the definition

  of “violent felony” in the ACCA, but under identical language in § 4B1.2 of the

  Guidelines defining the term “crime of violence.” Mr. Graham argues that robbery

  isn’t a “crime of violence” as defined under § 4B1.2 for three reasons: first,

  robbery isn’t a “crime of violence” under the elements clause, § 4B1.2(a)(1);

  second, robbery isn’t a “crime of violence” under the enumerated offenses clause,

  § 4B1.2(a)(2); and third, robbery isn’t a “crime of violence” under the residual

  clause because the residual clause is unconstitutional under Johnson, §

  4B1.2(a)(2).1 As a result, he shouldn’t have been subject to § 2K2.1(a)(2)’s career

  offender enhancement. Mr. Graham filed a petition under 28 U.S.C. § 2255

  asking that his sentence be vacated and he be resentenced without the career

  offender enhancement.

                                  II. STANDARD OF REVIEW

         A person convicted of a federal crime can challenge his sentence on

  grounds that the sentence violates the Constitution or laws of the United States,

  the court had no jurisdiction to impose such sentence, the sentence exceeded

  the maximum authorized by law, or the sentence is otherwise subject to

  collateral attack. 28 U.S.C. § 2255(a). Generally, issues not argued and decided

  on direct appeal can’t be raised in a § 2255 petition unless the petitioner can

  show good cause and actual prejudice for the procedural default. Galbraith v.



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   Indeed, while Mr. Graham awaited this order, the court of appeals held that the residual clause
  of § 4B1.2(a)(2) violates the Due Process Clause because it’s “so vague that it fails to give ordinary
  people fair notice of the conduct it punishes, or so standardless that it invites arbitrary
  enforcement.” United States v. Hurlburt, No. 15-1686, 2016 WL 4506717, at *3 (7th Cir. Aug.
  29, 2016) (quoting Johnson, 135 S. Ct. at 2556).

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  United States, 313 F.3d 1001, 1006 (7th Cir. 2002). A claim of ineffective

  assistance of counsel not raised on direct appeal can, however, still be raised in

  a § 2255 petition. Massaro v. United States, 538 U.S. 500, 504 (2003). Mr.

  Graham filed his motion to correct his sentence within one year of when “the

  right asserted was initially recognized by the Supreme Court” in United States v.

  Johnson, 135 S. Ct. 2551 (2015) and “made retroactively applicable to cases on

  collateral review” in Welch v. United States, 136 S. Ct. 1257 (2016). § 2255(f)(3).

        An evidentiary hearing isn’t required if “the motion and files and records

  of the case conclusively show that the petitioner is entitled to no relief.” 28 U.S.C.

  § 2255. After reviewing Mr. Graham’s petition and the record of this case, the

  court concludes that the factual and legal issues raised can be resolved on the

  record, so no hearing is necessary. See Menzer v. United States, 200 F.3d 1000,

  1006 (7th Cir. 2000) (hearing not required where the record conclusively

  demonstrates that a petitioner is entitled to no relief on § 2255 motion).

                                     III. DISCUSSION

        The court can’t reach the merits of Mr. Graham’s petition because the

  appeal waiver prevents him from raising them.

        “We will enforce an appeal waiver in a plea agreement if the terms of the

  waiver are clear and unambiguous and the defendant knowingly and voluntarily

  entered into the agreement.” United States v. Worden, 646 F.3d 499, 502 (7th

  Cir. 2011). “To bar collateral review, the plea agreement must clearly state that

  the defendant waives his right to collaterally attack his conviction or sentence in

  addition to waiving his right to a direct appeal.” Keller v. United States, 657 F.3d


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  675, 681 (7th Cir. 2011) (italics omitted). “[A] defendant’s freedom to waive his

  appellate rights includes the ability to waive his right to make constitutionally-

  based appellate arguments” and “preclude appellate review even of errors that

  are plain in retrospect.” United States v. Smith, 759 F.3d 702, 707 (7th Cir.

  2014).

        Mr. Graham’s appeal waiver was knowing and voluntary. He stated during

  the change of plea hearing that he read and understood that he was giving up

  his right to appeal or otherwise challenge his sentence. These sworn statements

  at the change of plea hearing are presumed truthful. Bridgeman v. United States,

  229 F.3d 589, 592 (7th Cir. 2000). The waiver says that by pleading guilty, Mr.

  Graham waives his right to collaterally attack his sentence with a § 2255 petition

  “on any ground.” The waiver was knowing and voluntary and the current claim

  falls within its scope, so the waiver “must be enforced.” Nunez v. United States,

  546 F.3d 450, 453 (7th Cir. 2008).

        There are limited exceptions to this rule. A court will disregard the waiver

  if “the district court relied on a constitutionally impermissible factor (such as

  race), the sentence exceeded the statutory maximum, [ ] the defendant claims

  ineffective assistance of counsel in connection with the negotiation of the plea

  agreement,” Keller v. United States, 657 F.3d 675, 681 (7th Cir. 2011), or

  “deprivation of some minimum of civilized procedure (such as if the parties

  stipulated to trial by twelve orangutans),” United States v. Adkins, 743 F.3d 176,

  192-193 (7th Cir. 2014).




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        None of these exceptions apply. As discussed previously, the waiver was

  voluntary. Mr. Graham was sentenced based on his crime and his criminal

  history, not a constitutionally impermissible factor. The sentence was within the

  statutory maximum. Mr. Graham was represented at the time he pled guilty and

  doesn’t challenge his attorney’s performance. Last, nothing suggests that Mr.

  Robertson signed onto an uncivilized procedure. That is enough to close the door

  on Mr. Robertson’s collateral attack.

        Mr. Graham argues that the court relied on a constitutionally

  impermissible factor in sentencing: the consideration of his prior felony as a

  “crime of violence.” In the same way a judge can’t look to the race of the defendant

  as a factor in sentencing, he says, under Johnson a judge can’t look to whether

  the defendant committed a “crime of violence” under the residual clause. The

  former violates the defendant’s right to equal protection and the latter violates

  due process.

        The problem with this argument is that the “constitutionally impermissible

  factor” exception would only come into play here if it was unconstitutional for

  the court to consider Mr. Graham’s prior conviction for robbery at all. The fact

  of the prior conviction is a perfectly permissible consideration, even if Mr.

  Graham is correct that its label as a “crime of violence” is unconstitutional. The

  fact of the defendant’s race, in contrast, is never a permissible consideration.

        Building the manner in which the court characterizes a fact that is

  perfectly constitutional for consideration into the “constitutionally impermissible

  factor” exception would undercut most § 2255 waivers. See United States v.


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  Behrman, 235 F.3d 1049, 1051 (7th Cir. 2000) (“Because almost every argument

  in a criminal case may be restated in generic constitutional form . . . , a

  ‘constitutional-argument exception’ would vitiate most waivers of appeal and all

  waivers of collateral attack.”); United States v. Bownes, 405 F.3d 634 (7th Cir.

  2005) (holding that appeal waiver prevented constitutional argument for

  resentencing when initial sentencing occurred prior to United States v. Booker,

  543 U.S. 220 (2005)). Mistake in designating a defendant as convicted of a “crime

  of violence” isn’t sufficient ground to ignore a knowing and voluntary waiver.

        Mr. Graham also argues that his claim fits into another exception

  rendering appeal waivers unenforceable: if enforcement works a “miscarriage of

  justice.” See, e.g., United States v. Grimes, 739 F.3d 125, 128-129 (3d Cir. 2014).

  Our court of appeals limits waiver exceptions to those just described, see United

  States v. Smith, 759 F.3d 702, 706 (7th Cir. 2014) (holding that the prior

  exceptions are “the only sorts of grounds which we have indicated may be

  sufficient to overcome a broad appellate waiver such as the one knowingly and

  voluntarily agreed to”), and has rejected attempts to circumvent waivers on

  grounds that developments in the law render a portion of the sentencing court’s

  rationale unconstitutional, see Bownes, 405 F.3d at 636 (“By binding oneself one

  assumes the risk of future changes in circumstances in light of which one’s

  bargain may prove to have been a bad one.”); United States v. McGraw, 571 F.3d

  624, 631 (7th Cir. 2009) (“By entering into an appeal waiver that did not include

  an escape hatch of the kind we contemplated in Bownes, McGraw relinquished




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  his right to challenge his sentence based on intervening Supreme Court

  decisions.”).

        Even if the court of appeals adopted a general “miscarriage of justice”

  exception, it isn’t clear if it would release Mr. Graham from his waiver. United

  States v. Blackwell, No. 15-1031, 2016 WL 3190569, at *2 (2d Cir. June 1, 2016)

  (“Because Blackwell’s sentence conformed to his plea agreement, he received the

  benefit of that agreement and he has waived any challenge to his sentence on

  the basis of Johnson.”); United States v. Ford, No. 15-3684, 2016 WL 1274126,

  at *1 (8th Cir. Apr. 1, 2016) (enforcing appeal waiver to claims that “the district

  court misapplied the career-offender provisions of the Guidelines, in light of

  Johnson”). That Narvaez v. United States, 674 F.3d 621, 629 (7th Cir. 2011)

  recognizes that an error branding someone as a career offender “constitutes a

  miscarriage of justice” doesn’t mean that it creates a “miscarriage of justice”

  exception to appeal waivers or that this case would fall into it.

        There is great harm to an unlawful sentencing guideline. See Narvaez v.

  United States, 674 F.3d 621 (7th Cir. 2011) (“The imposition [of an unlawful

  career offender status under the Guidelines] created a legal presumption that

  [the defendant] was to be treated differently from other offenders because he

  belonged in a special category reserved for the violent and incorrigible.”); United

  States v. Hurlburt, No. 14-3611, 2016 WL 4506717, at *6 (7th Cir. Aug. 29,

  2016) (explaining how these guidelines “anchor” a judge’s sentencing

  evaluation). Other courts might allow an implicit escape hatch from the waiver

  where the crime the defendant was convicted of or the sentencing guideline is


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 unlawful. See United States v. Teeter, 257 F.3d 14, 25-26 (1st Cir. 2001) (holding

 that waivers are presumptively valid but subject to exception where broader

 “miscarriage of justice” occurs); United States v. Grimes, 739 F.3d 125, 130 (3d

 Cir. 2014) (same). Others wouldn’t allow Mr. Robertson’s attack even with a

 “miscarriage of justice” exception. See United States v. Johnson, 410 F.3d 137,

 151-153 (4th Cir. 2005) (recognizing miscarriage exception but finding no

 exception where law changes in defendant’s favor); United States v. Andis, 333

 F.3d 886, 892 (8th Cir. 2003) (holding that any sentence within statutory limit

 isn’t miscarriage and citing Bownes); United States v. Hahn, 359 F.3d 1315,

 1327 (10th Cir. 2004). In any event, an implicit escape hatch isn’t the law here.

 United States v. McGraw, 571 F.3d 624, 631 (7th Cir. 2009); United States v.

 Bownes, 405 F.3d 634, 636 (7th Cir. 2005).

       The government and Mr. Graham adopted the waiver knowingly and

 voluntarily as understood by our precedent. No exceptions apply. Mr. Graham is

 bound by the waiver and this court won’t reach the merits of his argument.



                                  IV. Conclusion

       Based on the foregoing, the court DENIES Mr. Graham’s § 2255 motion to

 vacate and correct his sentence [Doc. No. 124].

       SO ORDERED.

       ENTERED: October 6, 2016

                                               /s/ Robert L. Miller, Jr.
                                              Judge
                                              United States District Court

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